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Exhibit 19

Certified letter to Greystar, Inc. USPS tracking number 7019 0700
0001 3467 8793 recording of continued harassment and retaliation
of Vicki McLean by Russian Secret Police using the Lone Star
College mind control system while living at The Cottages of
Cypresswood 7203 Oakwood Glen Blvd. Apt. 804 Spring, Tx. 77379.
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From : Vicki Fanning McLean Oct. 22, 2019
42431 Evangeline Drive

Hammond, Louisiana 70403

To : Greystar, Inc.

750 Bering Drive Suite 300 Houston, Texas 77057

Mack Armstrong Director of Real Estate Services Central South
Certified mail USPS Tracking 7019 0700 0001 3467 8786

Patricia Wilson Manager of The Cottages of Cypresswood Manager
Certified mail USPS Tracking 7019 0700 0001 3467 8793

All of the following problems were reported numerous times since June
2018 which continue up through Oct. 22, 2019. The maintenance men of
Cottages of Cypresswood continuing to not do the required repairs under
my contract with the Cottages of Cypresswood and the roach problem
that began upon move in was never properly addressed being infestation
in the walls that continued to get more severe buy Aug. 2019 making it
horrible to live among so many roaches coming from under the
baseboards where the carpet was laid having intentionally removed the
caulk between the baseboards and floor base. I spent 10 months sealing
all the intentional open areas in the kitchen, bath, and laundry room
since the Apple Pest Control service that only places boric acid in the
cabinets was not adequate to solve the problem of roach infestation in
the walls. Previous head maintenance man Raul Buenano is responsible
for all the intentional holes placed in the walls and the removal of the
caulk between the baseboards and floor base where the carpet was laid.
All these opening were no accident they were intentional involving
falsely documented Latino Maintenance men and contractors.
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Lalso have reported the continual illegal entries into my apartment from
the first month June, 2018 through Oct. 2019 which often involved the
stealing of my belongings which often was done to pass coded messages
linked to my Federal Foreign Intelligence Surveillance Court Cases filed
for the U.S. Citizens with FISC Judge Martin Feldman and Federal
Magistrate Daniel Knowles which were picked up and assigned to
special counsel in March-April 2018 for the U.S. Citizens.

On Sept. 21, 2018 I reported to the newly hired office staff that I lock
my doors every time I leave but I continued to experience constant
illegal entry into my apartment which involves the stealing of my
belongings and the moving of items from my belongs like kitchen knifes
etc. to threaten me. Because I witness Raul Buenano and Jose never
apply the air conditioning gauges to diagnose my non-working air
conditioner 3 times within 40 days from Aug. 2018 to Sept. 2018
leaving me without working air conditioning for days, | know that Raul
Buenano who lives at 4307 Lucas Trace Court, Houston, TX 77068 the
driver of a Silver Ford Texas License Plate AKO4326 intentionally over
injected my apartment air conditioner with refrigerant so not to cool and
refused to fix it properly for 40 days. This was not a lack of knowledge
but intentionally sabotage being a violation of my lease contract
requiring these items to be fixed immediately.

Raul Buenano refused to fix many items during his time as head
maintenance man. On Sept. 22, 2018 I reported the theft of my large
Jewish Star necklace out of my apartment to the newly hired office staff
secretary for Manager Patricia Wilson. I specifically told her that the
item stolen was not the concern but the fact that I knew the theft of the
Jewish Star Necklace was going to be linked to a terrorist attack on the
Jewish Church. I was absolutely correct. On Oct. 27, 2018 there was a
mass shooting at the Jewish Synagogue in Pittsburgh. According to
Manager Patricia Wilson her office staff never reported my concerns
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linked to the theft of my Jewish Star Necklace of Friday Sept. 21, 2018
while I was attending Jewish Services at Beth Israel Synagogue. I had
left my apartment around 4:30 p.m. Due to many reasons and the timing
of the resignation of Raul Buenano from employment at the Cottages of
Cypresswood and the timing of the firing of his helper Jose driver of
White Chev Texas License Plate CVK2069 listed to Jamie Alvarez
Sanchez there is an extremely high probability that Raul Buenano and
his helper Jose were responsible for most of my illegal entries and for
sure the removal of my Jewish Star Necklace on Sept. 21, 2018.

For sure Raul Buenano being the head maintenance man was responsible
for the renovations of my apartment prior to move in and was
responsible for all the intentional opening made in the apartment to
allow for roaches to come from all areas into my apartment. The Apple
Pest Control was totally ineffective which I reported to Patricia Wilson
the manager. I told the office it took me 10 months to seal off all the
opening in the kitchen, bath, laundry room, and dining room. After
doing that I rarely saw a roach. After the hiring of the current head
maintenance man on Monday Aug. 6, 2019 I began to experience
extensive illegal entries once again, the sabotage of my Prius removing
all 5 quarts of my newly changed full synthetic oil less than a month
earlier on Aug. 9, 2019, over injecting of my apartment air conditioner
with refrigerant on Aug. 9, 2019, theft of my Wells Fargo gold credit
card twice in 30 days during Sept. 2019 when my doors were locked
while I was in my bathroom taking a bath during the day, cutting of my
Prius rear passenger tire in center underneath removing all the rubber
exposing the tube on Sept. 3, 2019, removal of my expensive Jewish
Star Necklace from my apartment the week of Oct. 4-11, 2019, and

- again the removal of all 5 quarts of my Prius full synthetic oil on Oct.
16, 2019 being the night before my brother was scheduled to drive my
Prius to his home in Hammond, Louisiana.
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My automobiles being two were often illegally entered into. Tools were
stolen and my cars were sabotaged 6 times from May 7, 2019 through
Oct 16, 2019. Each time I reported each sabotage of my cars to Lilia
Ancheta the office Secretary. Not once during my time at Cottages of
Cypresswood from May 26, 2018- Oct. 22, 2019 did the hired security
guard Harris Country Constable Deputy Torres interview me about my
illegally entries and the sabotaging of my vehicles. What was the true
motive to move Security Guard Deputy Torres to Apt. 807 near me
around April, 2019 just prior to the beginning of the sabotaging of my
vehicles. From Aug 8, 2019 — Sept. 11, 2019 Deputy Torres the hired
security guard and driver of black Dodge Ram Texas license plate
DZW2881 was only on the property 3 days. Harris Constable Deputy
Torres was never on the property when my vehicles were sabotaged and
over returned after I had resolved the current sabotaging of my vehicles.

On May 7, 2019 someone entered my 2012 GMC Sierra and tapered
with my heavy-duty jumper cables that were stored inside a heavy-duty
black container. The electrical connection was tapered with in such a
way that I would have been electrocuted if I had touched the handles like
required when jumping my Prius that had been illegally entered into on
May 7,, 2019 to drain it’s 12 volt battery requiring me to jump my Prius
with my jumper cables using my diesel truck that has two batteries.

Aug. 9, 2019 someone drained al 5 quarts of the newly placed full
synthetic oil out of my Prius while the Head maintenance man newly
hired just 4 days earlier driver of black Ram truck Texas license plate
JJC3680 and Black Chrysler Jeep Texas License Plate KKR6747
intentionally over injected my apartment air conditioner with refrigerant
like Raul Buenano did 3 times from Aug to Sept. 2018. This head
maintenance man only put on the low gauge which read 91 and refused
to put on the high gauge required to properly diagnose an air
conditioner. The low side should not have been higher than 75. The head
maintenance lied to me about why he did not need to use two gauges and
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lied to be about the problem and refused to service the unit. Then I
preceded to question his citizenship and his right to be in the country
fully being aware that he had a 99% chance of being falsely documented
using a stolen social security number and not having the required legal
U.S. Dept. of Labor work permit like Raul Buenano and Jose. His
response made it obvious that I was absolutely correct that he was
falsely documented. My 12 Federal Foreign Intelligence Surveillance
Court Cases address all immigrants and fraudulent U.S. Citizens that are
falsely documented and are using stolen social security numbers of U.S.
Citizens being a violation of the Alien Registration Act of 1940 and the
Espionage Act. All employers must verify a worker’s social security
number with the U.S. Dept. of Homeland Security since 98 million
immigrants are using the stolen Social Security numbers that will not
show up under routine background checks. Due to the hash function
including the stolen légitimate social security number belonging to a
U'S. Citizen, the immigrant’s name, and the immigrant’s birthdate that
does not match the hash function of the U.S. Citizen that has the legal
right to possess the particular social security number the stolen social
security number used by an immigrant will not be exposed. The
employing of immigrants using stolen social security numbers and
renting to immigrants with stolen social security numbers used to
illegally acquired U.S. and State housing benefits is not allowed under
the U.S. Constitution and U.S. Laws by any company operating inside
the United States.

It is reasonable to conclude the providing immigrants illegally with U.S.
and State housing benefits is for the purpose of moving drugs among the
immigrant maintenance men, immigrant contractors and visitors having

easy access to the same gate code #2455 given to all residents, residents’
family and friends, and all delivery services since May, 2018. This is an
intentional lack of internal and external controls that I complained about
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upon move to the acting manager of The Cottages of Cypresswood at
move in.

The allowing immigrants to steal U.S. housing benefits using stolen
social security numbers for the purpose of espionage activities for my
defendants the Federal Reserve Shareholder puts honest Americans
living in apartments like myself at great physical and financial risks. All
intentional sabotage by the maintenance men of Cottages of
Cypresswood was to harass me out so they and the immigrant residents
could continue freely with all their espionage activities while living on
the property. The intentional sabotage of my jumper cables was
intentional to do extreme physical harm to me. This was reported
immediately to the office secretary Lilia Ancheta driver of White Chev
SUV LKX5076 who often ran to reported to apt 807 by why of leaving
the office by way of the side door, traveling behind the building where
the covered parking is located to apartment 807 so not to be seen on
cameras. The cameras were specifically located to allow this espionage
activity by the office staff of Cottages of Cypresswood and Security
Guard Harris County Constable Torres and his female police officer
roommate driver of Grey Ford SUV Texas License Plate KZN1787.

The relocating of Harris County Constable Torres to Apartment 807
with sharing the unit with another female police officer was to be able to
secretly communicate with the office staff and Harris County Deputies
in person without using a cell phone and without being seen on the
surveillance cameras. This locating of Deputy Torres to Apt. 807 for
these obvious reasons links Harris County to the intent to do physical
and financial harm to Vicki Fanning McLean and to aid in the obvious
illegally drug movement on the property between Greystar immigrant
employees and immigrant residents all using stolen social security
numbers. Vicki McLean noted that Harris County Deputies also resided
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on the property of Providence of Champion owned by Nitya Capital and
managed by their managing company Karya Property Management. This
apartment complex also had 100% immigrant staff likely using stolen

social security and contractors who participated in my illegal entries and
sabotaging of my apartment and autos. Nitya Capital and Karya Property
Management violations of my contract was addressed in FISC 17-12483

The continued illegal entries into my apartment continue during the time
of my stay at the Cottages of Cypresswood. These illegal entries were
reported continually. Most happened during the day hours when the
maintenance men for the Cottages of Cypresswood were on duty. During
the month of Sept. 2019 the maintenance men obvious having received a
text with these detailed instructions entered my apartment twice during
the day by unlocking my door with a key while I was taking my bath and
removed the same Wells Fargo Yellow Credit Card from my coin purse
that was inside my black fanny pack that was sitting on my sofa side
table. Each time I reported the theft to Wells Fargo immediately within
discovering the theft of my Wells Fargo Credit prior to leaving my
apartment being 100% certain the maintenance men had entered with
instructions given in a text while I was taking a bath. To rush the card in
a day Wells Fargo charged me $16. This was told directly to Patricia
Wilson. I also informed Patricia Wilson the manager that my expensive
Jewish necklace was stolen out of my apartment while in Hammond, La.
from Oct. 4-11, 2019. I also informed Patricia Wilson that I had a great
deal of certainty that Raul Buenano had stolen by large J ewish Star
Necklace out of my apartment on Sept. 21, 2019. Since Patricia Wilson
told me all the lies that the head maintenance told her on Aug. 12°2018
as to why he refused to fix my air conditioner and refused to fix any
future apartment repairs there is great certainty the head maintenance
man being falsely documented and driver of Chrysler Jeep KKR6747
was the one who entered my apartment twice in Sept. 2019 while I was
taking a bath to remove my Yellow Wells Fargo Credit Card and
removed my expensive Jewish Necklace from my apartment while I was

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in Hammond, La. The maintenance men, contractors on the property,
and immigrant residents feel totally protected violating the law entering
my apartment and autos because they are backed by Harris County
Deputy Constable Torres also likely using a stolen social security
number and the Lone Star College mind control staff that mostly are also
using a stolen social security number.

Lone Star College mind control system covers most of North Houston
north of I-10 from Kingwood to Katy, Texas and most of Montgomery
County. The Lone Star College Staff under Thiess Elementary and Klein
High School likely overseas all the activity at the Cottages of
Cypresswood. Lone Star College is a defendant in FISC 17-5578 linked
to theft of my husband, James McLean’s intellectual property used in
U.S. HAARP Patent 5041834, the medical murder of James McLean,
stabbing of my False Claim Espionage Attorney Constance Singleton,
framing of my son Timothy McLean June, 2007, and framing of Vicki
McLean on March 2, 2008-June 15, 2009 during the time Federal False
Claim case 07-9717 assigned to Judge Thomas Porteous and was active.
Lone Star College continues to be linked to the financial and physical
attacks on Vicki, Tim, and Kim McLean from 2001 to present.

On Sept. 9 2019 the head maintenance man intentionally over injected
my apartment air conditioning unit with refrigerant around 3 pm and
refused to fix it knowing the low pressure was 91 when it should be 75.
He refused to put on the high pressure gauge to properly diagnose the
problem. I had to get Kevin Bristow who lives in Apt 805 who
specializing in home and commercial air conditioning units to release
the extra refrigerant that was surely injected by the newly hired head
maintenance man that had stayed completely out of my view his first 4
days of employment so I could not educate him in the extend of my
Foreign Intelligence Surveillance Court cases filed for the real authentic
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U.S. Citizen like I had done with the previous head maintenance man
that replaced falsely documented Raul Buenano.

Jose Sanchez was fired within 5 days of illegal entry into both my
vehicles sabotaging my heavy-duty jumper cables in my white 2012
GMC Sierra with draining my 2009 Prius battery during the May 7,
2019 flood. This was an attempt to do physical harm to me by
attempting to electrocute me with my jumper cables if I had not noticed
they had been tampered with prior to connecting them to my 2012 GMC
Sierra Diesel that has 2 batteries and my 2009 Prius. I notified the office
staff Lilia immediately who did not report it to the manager Patricia
Wilson. I also notified the staff of U.S. Representative Dan Crenshaw,
U.S. Representative Michael McCaul, and U.S. Senator Kennedy in
New Orleans located in the Hale Boggs building that houses the U.S.
District Court House and the offices of Judge Martin Feldman and
Magistrate Daniel Knowles. This is likely why Lone Star College
orchestrated the firing of Jose within 7 days of the sabotaging of my
jumper cables.

All these intentional vehicles sabotages on the property of The Cottages
of Cypresswood should have been seen on the surveillance cameras. All
incidents were reported to office staff Lilia who should have reported
them to the manager Patricia Wilson and immediately to the on-site
sécurity guard Harris County Constable Deputy Torres by phone. Torres
has yet to interview me about all my illegal entries and the sabotaging of
my vehicles.

Upon moving in on May25, 2018 I complained about the lack of internal
and external controls giving all residents and staff the same access code
to the gate. The Gate code is 2455 and has yet to be changed. Anyone
could be used to sabotage my vehicles being the gate code is the same
for everyone. Harris County Constable Torres is obviously aiding and
abetting all illegal drug movement on the grounds of the Cottages of
Cypresswood.
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Since the new maintenance has arrived on Aug. 5, 2019 my roach
problem has gotten severe. There is no doubt that the previous head
maintenance man removed all the caulk from the gap between the
baseboards and floor base where the carpet is laid to allow easy access
for roaches roaches to my apartment since the apartments below me
report not having any roaches. There are great reasons to suspect the
head maintenance man who lied to manager Patricia Wilson and openly
refused to comply with his employment contract and my lease contract
by refusing to do my apartment repairs is responsible for most of my
illegal entries into my apartment. There is a very high probability that
the current head maintenance man removed my gold Wells Fargo Credit
card twice in Sept. 2019 from my apartment and my expensive Jewish
Necklace in Oct. 2019 to pass a coded message about the sabotaging of
the Hard Rock Hotel in New Orleans on Saturday Oct. 12, 2019.

Due to the relentlessness of the Cottages of Cypresswood maintenance
men, Cottages of Cypresswood Office Secretary, and the Cottages of
Cypresswood Security Guard Harris County Constable Torres to do
physical and financial harm to me and refused to do the needed repairs
on the property, my lease contract has been violated by the Cottages of
Cypresswood continually from the day that I moved into the Cottages of
Cypresswood. The previous office manager and office secretary in place
in Feb. 2018 were told during my application process that I was a
Federal Whistleblower whose federal cases were assigned to Foreign
Intelligence Surveillance Court Judge Martin Feldman. Odd that both
the manager and office secretary both being Latino quit just prior to my
moving in on May 26, 2018. It is apparent that the Latino Maintenance
men of the Cottages of Cypresswood with Lone Star College and Harris
County Constable Torres are in control and do not answer to the Manger
Patricia Wilson, Greystar, Inc. Director of Real Estate Services Mack

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Armstrong, or Greystar, Inc. Managing Director of Real Estate Service
Joe Perez.

Due to continual violations of my lease contract by the Cottages of
Cypresswood and Greystar, Inc. refusing to do repairs, refusing to
properly address the roach infestation, refusing to address the constant
illegal entry by their Latino Maintenance men, and the Security Guard
Harris County Constable Torres refusing to address the sabotaging of
my vehicles 6 times, and constantly illegally entries | will be officially
moved out by Thursday Oct. 24, 2019. Most of the apartments in the
Houston Metro Area hire falsely documented immigrants as their
maintenance men and contractors and give falsely documented
immigrants housing funds to aid in the movement of illegal drugs
making it very unsafe for me to live in any apartment within the Houston
Metro Area. I have chosen to move to Hammond, Louisiana to live with
my brother Glen Fanning a member of the Estate of Louis Fanning, Sr.
who is a plaintiff in several of my FISC cases filed with FISC Judge
Martin Feldman. My new address is 42431 Evangeline Drive,
Hammond, Louisiana 70403.

Vicki Fanning McLean
cc. FISC Judge Martin Feldman Sect F Case 18-3462
Federal Magistrate Judge Daniel Knowles Sect 3 Case 18-3462

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